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                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    In re: TESTOSTERONE                                    )
    REPLACEMENT THERAPY                                    ) MDL No. 2545
    PRODUCTS LIABILITY LITIGATION                          )
                                                           ) Master Docket Case No. 1:14-cv-01748
                                                           )
                                                           ) Honorable Matthew F. Kennelly
                                                           )
    This Document Relates To:                              )
    Rowley v. AbbVie Inc.,                                 )
    Case No. 1:15-cv-02760                                 )


      DEFENDANT ABBVIE’S MOTION FOR RULING ON BILL OF COSTS (DKT. 93)

           With apologies to the Court for prior miscommunication and confusion, Defendant

    AbbVie Inc. respectfully requests that the Court rule on Defendant’s pending Bill of Costs (Dkt.

    93 and 94 with Plaintiff’s Response at Dkt. 95 and Defendant’s Reply at Dkt. 97). Because

    Plaintiff Rowley is not eligible to participate in the recent settlement executed by the Plaintiff’s

    Steering Committee and AbbVie, Defendant’s Bill of Costs requires final resolution.

    Date: December 3, 2018                               Respectfully submitted,

                                                         /s/ Andrew J. Rima
                                                         Shayna S. Cook
                                                         Andrew J. Rima
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                                                         Counsel for AbbVie Inc. and Abbott
                                                         Laboratories

 

 


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                                       CERTIFICATE OF SERVICE

           I hereby certify that on December 3, 2018, I electronically filed the foregoing document

    to the Clerk of the United States District Court using the CM/ECF system for filing and service

    to all parties/counsel registered to received copies in this case.


                                                           /s/ Andrew J. Rima




 


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